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                                   4350




       EXHIBIT 24
Case 3:17-cv-00072-NKM-JCH Document 457-24 Filed 04/03/19 Page 2 of 4 Pageid#:
                                   4351


  From:                 Gabrielle E. Tenzer
  To:                   John DiNucci; KarenD@vawd.uscourts.gov
  Cc:                   jek318@gmail.com; alevine@cooley.com; brottenborn@woodsrogers.com; bryan@bjoneslegal.com; Christopher
                        Greene; dcampbell@dhdglaw.com; dmills@cooley.com; isuecrooks@comcast.net; Julie Fink;
                        jgravatt@dhdglaw.com; jlibling@bsfllp.com; Joshua Matz; jphillips@bsfllp.com; kdunn@bsfllp.com;
                        lisa_lorish@fd.org; Michael Bloch; pbowman@bsfllp.com; rcahill@cooley.com; Roberta Kaplan; Seguin L.
                        Strohmeier; wisaacson@bsfllp.com; Yotam Barkai; Eli.F.Mosley@gmail.com; matthew.w.heimbach@gmail.com
  Subject:              RE: CC Monday or Tuesday - Sines v. Kessler 3:17cv72
  Date:                 Friday, February 8, 2019 9:32:51 AM


  Ms. Dotson:

  With the exception of Mr. Mosley and Mr. Heimbach, who we have not yet heard from, Plaintiffs’
  counsel and the other counsel for Defendants are available on Tuesday between 12:30 and 2:00
  p.m.

  Respectfully submitted,
  Gabrielle Tenzer

  Gabrielle Tenzer | Kaplan Hecker & Fink LLP
                    ​




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  New York, New York 10118
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  gtenzer@kaplanhecker.com


  From: John DiNucci <dinuccilaw@outlook.com>
  Sent: Friday, February 8, 2019 9:27 AM
  To: KarenD@vawd.uscourts.gov
  Cc: jek318@gmail.com; alevine@cooley.com; brottenborn@woodsrogers.com;
  bryan@bjoneslegal.com; Christopher Greene <cgreene@kaplanhecker.com>;
  dcampbell@dhdglaw.com; dmills@cooley.com; Gabrielle Tenzer <gtenzer@kaplanhecker.com>;
  isuecrooks@comcast.net; Julie Fink <jfink@kaplanhecker.com>; jgravatt@dhdglaw.com;
  jlibling@bsfllp.com; Joshua Matz <jmatz@kaplanhecker.com>; jphillips@bsfllp.com;
  kdunn@bsfllp.com; lisa_lorish@fd.org; Michael Bloch <mbloch@kaplanhecker.com>;
  pbowman@bsfllp.com; rcahill@cooley.com; Roberta Kaplan <rkaplan@kaplanhecker.com>; Seguin
  L. Strohmeier <sstrohmeier@kaplanhecker.com>; wisaacson@bsfllp.com; Yotam Barkai
  <ybarkai@bsfllp.com>; Eli.F.Mosley@gmail.com; matthew.w.heimbach@gmail.com
  Subject: Re: CC Monday or Tuesday - Sines v. Kessler 3:17cv72

  Ms. Dotson:

     I am available on Tuesday after 11 a.m.

             John A. DiNucci

  Sent from my iPhone

  On Feb 7, 2019, at 2:56 PM, "KarenD@vawd.uscourts.gov" <KarenD@vawd.uscourts.gov> wrote:
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       Counsel,

       Judge Hoppe would like to have a conference call next Monday or Tuesday regarding the
       below email.

       Please confer with each other and decide on a date and time THEN let me know what time
       you have agreed on and I'll set up the conference call. Thank you.


       Feb. 11 - anytime between 9:00, 9:30, 10:00, 10:30, 11:00, 11:30, 2:00 or later
       Feb. 12 - 11:00 or later

       Respectfully,

       Karen
       ____________________________
       Karen L. Dotson
       Courtroom Deputy for
       Hon. Joel C. Hoppe
       U.S. Magistrate Judge
       (540) 434-3181 ext. 2



       From:     Gabrielle Tenzer <gtenzer@kaplanhecker.com>
       To:     "hoppe.ecf@vawd.uscourts.gov" <hoppe.ecf@vawd.uscourts.gov>, "KarenD@vawd.uscourts.gov"
       <KarenD@vawd.uscourts.gov>
       Cc:       David Campbell <dcampbell@dhdgclaw.com>, "isuecrooks@comcast.net" <isuecrooks@comcast.net>, James
       Kolenich <jek318@gmail.com>, Bryan Jones <bryan@bjoneslegal.com>, John DiNucci <dinuccilaw@outlook.com>,
       "lisa_lorish@fd.org" <lisa_lorish@fd.org>, Roberta Kaplan <rkaplan@kaplanhecker.com>, Julie Fink
       <jfink@kaplanhecker.com>, "Levine, Alan" <alevine@cooley.com>, "Mills, David" <dmills@cooley.com>, "Bowman,
       Philip M." <pbowman@cooley.com>, "Rottenborn, Ben" <brottenborn@woodsrogers.com>, Karen Dunn
       <kdunn@bsfllp.com>, Jessica Phillips <jphillips@bsfllp.com>, William Isaacson <Wisaacson@BSFLLP.com>

       Date:    02/06/2019 07:04 PM
       Subject:   Sines v. Kessler, Case No. 17 Civ. 72




       Dear Judge Hoppe:


       As Your Honor encouraged us to do during the January 4, 2019 telephonic conference, we are once
       again writing to provide a status update and to seek the Court’s assistance with outstanding
       discovery items.

       Although we have received and are still receiving information from Discord thanks in large part to
       the Court’s intervention with respect to obtaining Defendants’ SCA consents, we still have received
       precious few documents from the Defendants themselves. We have yet to receive a single page
       from 9 of the 18 Defendants who remain in the case (not including Defendant Fields, who is
       incarcerated). Other than Defendant Kessler, the productions we have received thus far from the
       Defendants who have produced documents have been meager, to say the least. And it is not for lack
       of trying on Plaintiffs’ part. Plaintiffs’ document requests were originally served over a year ago, on
       January 25, 2018. On November 13, 2018, nearly three months ago, the Court granted Plaintiffs’
       Motion to Compel Defendants to Permit Inspection and Imaging of Electronic Devices. Plaintiffs
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       raised the issue of the Third Party Discovery Vendor Contract on the call with the Court on January 4,
       2019, as well as in a January 16, 2019 email to the Court. Yet to date, Defendants have not agreed to
       the Third Party Discovery Vendor Contract that Plaintiffs sent to them over a month ago, on
       December 28, 2018. The parties have made progress in coming to an agreement on the contract,
       but Plaintiffs and the vendor are still waiting to hear back from Defendants on one outstanding issue
       concerning indemnification.

       While Plaintiffs have been trying to avoid involving the Court again, it appears that a call is needed to
       ensure that this process moves forward more expeditiously. Accordingly, we request a conference
       with the Court to seek an order that a Third Party Discovery Vendor Contract be executed by a date
       certain and that, upon execution of the contract, Defendants be required to immediately tender
       their devices to the vendor for imaging and to complete all other aspects of the document
       production process also by a date certain. For obvious reasons, and consistent with due process,
       Plaintiffs do not want to notice Defendants’ depositions before receiving their documents. Given the
       current fact discovery cutoff of April 17, 2019, it is not clear how this can all happen without further
       intervention from the Court, including the possible imposition of sanctions for any further non-
       compliance.

       Plaintiffs can be available for a conference with the Court on Monday or Tuesday of next week,
       February 11 or 12. We appreciate Your Honor’s consideration of this request.


       Respectfully submitted,
       Gabrielle E. Tenzer



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       immediately and destroy all copies of the message from your computer system. Thank you.
